IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MISSOURI
WESTERN DIVISION

MARY IONELLA KNIGHT, et al.,
Plaintiffs,
No. 05-1145-CV-W-ODS

Vv.

“CNS INTERNATIONAL MINISTRIES, INC.,
et al.,

Defendants.
NOTICE OF REMOVAL

Defendants Charles N. Sharpe Foundation, CNS Corporation, and David Melton file this
Notice of Removal pursuant to 28 U.S.C. §§ 1441, 1446 and 1332. As grounds therefore, they
state:

1. Plaintiffs Mary Ionelia Knight and Mark Stajduhar, through their attorneys, have
filed a petition in the Circuit Court of Jackson County, Missouri, purporting to sue defendants on
behalf of a class of persons numbering “several hundred or thousand or more” (see attached
Petition, p. 8, 37), and have claimed that the members of this class have suffered serious
| injuries resulting from intentional and negligent infliction of emotional distress, assault, battery,
fraud, negligence, negligence per se, breach of express warranties, negligent misrepresentation,
breach of contract, negligent hiring/retention, and clergy malpractice. If, as plaintiffs’ petition
alleges, there are potentially 1,000 or more class members, a $5,000,000 aggregate limit would
result in the class members receiving $5,000 per member for the serious injuries alleged.

2. For each of their thirteen counts, plaintiffs pray for damages in excess of
$25,000.00 “but not to exceed five million dollars ($5,000,000.00) exclusive of interest and

_costs,” plus pre-judgment interest under Missouri law and “attorney fees.” Accordingly, in each

 

 
count, plaintiffs’ prayer includes an amount in controversy greater than $5,000,000.00. In the
ageregate, plaintiffs’ thirteen-count petition states an amount in controversy of more than
$65,000,000.00.* Plaintiffs’ thirteen prayers for relief contradict plaintiffs’ general allegation
that the amount in controversy “does not exceed the sum or value of $5,000,000.00 in the
aggregate, exclusive of interest and costs.” Petition p. 9, 42.

3. Under 28 U.S.C. §1332(d)(2)(A), this Court has original jurisdiction in any civil
action “in which the matter in controversy exceeds the sum or value of $5,000,000, exclusive of
interest and costs” (but not exclusive of attorney fees, which are claimed by plaintiffs), and is a
class action in which “any member of a class of plaintiffs is a citizen of a State different from
any defendant.” In the case at bar, plaintiff Mark Stajduhar is a citizen of the State of Hinois,
and all the defendants that have been served to date are citizens of Missouri. While defendants

are not certain of the citizenship of plaintiff Mary Ionella Knight, defendants are certain that she
is not a citizen of Texas, which is where defendant Amy Wilson is a citizen. Accordingly, under
the minimal diversity required under 28 U.S.C. §1332(d)(2)(A), this Court has original
jurisdiction, and the removal requested herein is proper.

4, On October 17, 2005, the undersigned defendants were served with the Summons
‘and Complaint, copies of which are attached hereto pursuant to 28 U.S.C. §1446(a). In
comphance with 28 U.S.C. §1446(b), this Notice of Removal is filed with this Court within
thirty days after receipt of a copy of the intial pleading setting forth the claim for relief upon
which this action or proceeding is based and within thirty days after service of summons. A
copy of all process, pleadings and orders, as required by 28 U.S.C.A. § 1446(a), is attached

hereto.

 

+ Defendants do not belief they are liable and do not believe any plaintiff has been damaged; the
amount in controversy is derived from a reasonable reading of the petition.

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5. This Notice of Removal is signed pursuant to Rule 11, Fed. R. Civ. P.

WHEREFORE, for each of the foregoing reasons, defendants Charles N. Sharpe
Foundation, CNS Corporation and David Melton, file this Notice of Removal, removing this case
from the Circuit Court of J ackson County, Missouri to the United States District Court for the

Western District of Missouri pursuant to the provisions of 28 U.S.C. §§ 1441, 1446 and 1332.

Dated: November 16, 2005

/Richard F. Modin/

One of the attorneys for defendants

Charles N. Sharpe Foundation, CNS Corporation
and David Melton

 

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CERTIFICATE OF SERVICE

A copy of the foregoing was served electronically and via first-class mail, postage
prepaid, this 16th day of November, 2005, upon:

Mark E. Parrish, Esq.
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